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 1 JOHN D. CLINE (CA State Bar No. 237759)
   600 Stewart Street, Suite 400
 2 Seattle, WA 98101
   Telephone: (360) 320-6435
 3 Email: cline@johndclinelaw.com

 4 KEVIN M. DOWNEY (Admitted Pro Hac Vice)
   LANCE A. WADE (Admitted Pro Hac Vice)
 5 AMY MASON SAHARIA (Admitted Pro Hac Vice)
   KATHERINE TREFZ (CA State Bar No. 262770)
 6 WILLIAMS & CONNOLLY LLP
   680 Maine Avenue, S.W.
 7 Washington, D.C. 20024
   Telephone: (202) 434-5000 │Facsimile: (202) 434-5029
 8 Email: KDowney@wc.com; LWade@wc.com; ASaharia@wc.com; KTrefz@wc.com

 9 Attorneys for Defendant ELIZABETH A. HOLMES

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11                             UNITED STATES DISTRICT COURT

12                           NORTHERN DISTRICT OF CALIFORNIA

13                                    SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,               )   Case No. CR-18-00258-EJD
15                                           )
            Plaintiff,                       )   DECLARATION OF KATHERINE TREFZ IN
16                                           )   SUPPORT OF MOTION TO STRIKE
       v.                                    )
17                                           )
     ELIZABETH HOLMES and                    )   Hon. Edward J. Davila
18   RAMESH “SUNNY” BALWANI,                 )
                                             )
19          Defendants.                      )
                                             )
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     DECLARATION OF KATHERINE TREFZ
     CR-18-00258-EJD
            Case 5:18-cr-00258-EJD Document 1722-1 Filed 01/23/23 Page 2 of 2




 1         I, KATHERINE TREFZ, declare as follows:

 2         1.      I represent Defendant Elizabeth Holmes and am a member of the Bar of this Court.

 3 Pursuant to Criminal Local Rule 56-1(c) and Civil Local Rule 7-11, I submit this declaration in support

 4 of Ms. Holmes’ Motion to Strike.

 5         2.      Attached as Exhibit 1 is a true and correct copy of an email exchange among Jeffrey

 6 Schenk, Lance Wade, and myself, on January 23 and 24, 2022.

 7         3.      Attached as Exhibit 2 is a true and correct copy of an email I sent to counsel for the

 8 government on January 20, 2023. As of the time of signing this declaration, I have not received a

 9 response.

10         I declare under penalty of perjury under the laws of the United States that the foregoing is true

11 and correct to the best of my knowledge.

12         Executed this 23rd day of January 2023 in Washington, D.C.

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15                                                       KATHERINE TREFZ
                                                         Attorney for Elizabeth Holmes
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28 DECLARATION OF KATHERINE TREFZ
   CR-18-00258-EJD
